    Attachment One
Written Request for Discovery
  From: Robert Gifford Robert.Gifford@GiffordLawyer.com
Subject: Request for Discovery
   Date: February 27, 2024 at 6:43 AM
     To: Matthew Anderson - AUSA matthew.anderson2@usdoj.gov
    Cc: Ronald Jones - Attorney ron@thebrilliantbrawler.com


      Matt: Please find attached my written request for discovery (just the standard request).




        Discovery Letter
           - Bills.pdf
             207 KB



      Robert D. Gifford
      ATTORNEY




      GIFFORD LAW, P.L.L.C.
      Phone: (405) 810-5406
      Cell/Text: (405) 778-4647
      Facsimile: (877) 295-0287
      Email: Robert.Gifford@GiffordLawyer.com
      Website: http://giffordlawyer.com

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      be sent in a different fashion, please advise me at once.
                                                     February 26, 2024
United States Attorney’s Office
Matt Anderson, Assistant U.S. Attorney
Western District of Oklahoma
via email: matthew.anderson2@usdoj.gov

Re: United States v. Gloria Leshell Bills, 24-cr-00056-J

Mr. Anderson:


Pursuant to the United States Constitution, the laws of the United States,
the Federal Rules of Criminal Procedure, the Federal Rules of Evidence, the
United States Sentencing Guidelines and/or existing case law, Defendant,
Gloria Leshell Bills, hereby requests the Government1 to produce the
following items, to the extent they may exist, for his inspection and use in
connection with the preparation, and/or trial, and/or sentencing in the
above—referenced case:
   A. Any relevant written or recorded2 statements3 made or adopted by the
      Defendant, or copies thereof, within the possession, custody, or control
      of the Government, the existence of which is known, or by the exercise
      of due diligence may become known, to the Government; that portion of
      any written record containing the substance of any relevant oral


1 The term "Government" as used throughout this request includes all

branches of the Government, all levels of the Government and all agencies
within each branch and level of Government.
2 The term "recorded" as used throughout this request includes both audio

and visual recordings.
3 The term "statements" as used throughout this request includes any form of

assertive conduct and is, therefore, not limited to verbal statements.
      statement made by the Defendant whether before or after arrest in
      response to interrogation by any person then known to the Defendant
      to be a Government agent; and recorded testimony of the Defendant
      before a grand jury which relates to the offense charged. You shall also
      disclose the substance of any other relevant oral statement made by
      the Defendant whether before or after arrest in response to
      interrogation by any person then known by the Defendant to be a
      Government agent if the Government intends to use the statement at
      trial. See Fed. R. Crim. Proc. 16(a)(1)(A).4
             1. Arrest Reports, Notes and Body Cam, Dash Cam,
                and/or Dispatch Audio/Tapes: The defendant also
                specifically requests that all arrest reports, notes, dispatch,
                video, audio and any and all items that relate to the
                circumstances surrounding his arrest or any questioning, be
                turned over. This request includes, but is not limited to, any
                rough notes, records, reports, transcripts or other documents
                in which statements of the defendant or any other
                discoverable material is contained. This is all discoverable
                under Fed. R. Crim. P. 16(a)(1)(A) and Brady v. Maryland,
                373 U.S. 83 (1963). See also Loux v. U.S., 389 F.2d 911 (9th
                Cir. 1968); United States v. Johnson, 525 F.2d 999 (2d Cir.
                1975); United States v. Lewis, 511 F.2d 798 (D.C.Cir. 1975);
                United States v. Pilnick, 267 F. Supp. 791 (S.D.N.Y. 1967).
             2. Arrest and Investigative reports, investigator’s notes,
                memos from arresting officers, dispatch and broadcast
                audio/tapes, sworn statements, and prosecution
                reports pertaining to the defendant are discoverable under
                Fed. R. Crim. P. 16(a)(1)(B) and (C), Fed. R. Crim. P. 26.2


4 This request is also intended to cover the substance of Defendant’s response

to Miranda warnings if such warnings were given. See United States v.
McElroy, 697 F.2d 459 (2d Cir. 1982).
  and 12(I); Preservation of rough notes is specifically
  requested, whether or not the government deems them
  discoverable at this time.
3. Disclosure of Search Warrant, Arrest Warrant and/or
  Electronic Surveillance Order and all supporting
  affidavits, applications, and returns, and to unseal any
  and all related documents. Rule 16, Federal Rules of
  Criminal Procedure; Sixth Amendment, United States
  Constitution. This includes a request for all information
  relative to all searches or seizures that have been conducted,
  including where applicable, the warrant, the affidavit, and
  the return for each search. This request, however, includes
  searches and seizures, whether or not through a search
  warrant. Where not conducted pursuant to a warrant, please
  provide facts establishing probable cause, exigent
  circumstances, or any other exception to the warrant
  requirement.
4. Disclosure of statements of alleged co-conspirators.
  Rule 801(d)(2)(E), Federal Rules of Evidence; Rule 16,
  Federal Rules of Criminal Procedure.
5. Favorable Statements: Witness statements favorable
  to the defendant. Jackson v. Wainwright, 390 F.2d 288
  (5th Cir. 1968).
6. Names of Witnesses favorable to the Defendant: The
  defendant requests the name of any witness who the
  government does not intend to call at trial, or who made an
  arguably favorable statement concerning the defendant.
  Jackson v. Wainwright, 390 F.2d 288 (5th Cir. 1968); Chavis
  v. North Carolina, 637 F.2d 213, 223 (4th Cir. 1980); Jones v.
  Jago, 575 F.2d 1164, 1168 (6th Cir.), cert. denied, 439 U.S.
   883 (1978); Hudson v. Blackburn, 601 F.2d 785 (5th Cir.
   1979), cert. denied, 444 U.S. 1086 (1980).
7. Request for Preservation of Evidence: The defendant
   specifically requests that all evidence in whatever form,
   including but not limited to all notes, reports, memoranda,
   logs, video and audio recordings, dispatch/radio broadcasts,
   surveillance records, telephone conversations, photographs
   and any and all physical evidence that may be destroyed,
   lost, or otherwise put out of the possession, custody, or care of
   the government and which relate to the arrest or the events
   leading to the arrest in this case be preserved. Please advise
   all relevant agencies and personnel regarding this request. I
   request that all information and statements taken in
   whatever form including but not limited to meetings,
   conferences, conversations, debriefings, and proffers be audio
   or tape recorded. Audio/tape recording those proceedings will
   ensure an accurate record of what statements are made by
   any potential witness.
8. Information Regarding Informants and Cooperating
   Witnesses: The defendant requests that the government
   provide all relevant information concerning any informants
   or cooperating witnesses involved in this case. At a
   minimum, the government is obligated to disclose the
   identification and location of any informants or cooperating
   witnesses, as well as the identity and location of any other
   percipient witnesses unknown to the defendant. Roviaro v.
   United States, 353 U.S. 53 (1957).
9. Documents & Objects: Copies of, or an opportunity to
   inspect and copy or photograph, any books, papers,
   documents, depictions, photographs, tangible objects,
   buildings, automobiles, or places which are material to the
             preparation of the defendant's defense, are intended for use
             by the government in its case in chief, or were obtained from
             or belong to the defendant, pursuant to Rule 16(a)(1)(E).
         10. Discovery Pursuant to the Jencks Act, 18 U.S.C. § 3500
             and Rule 26.2, Federal Rules of Criminal Procedure:
             The defense requests all material to which defendant is
             entitled pursuant to the Jencks, 18 U.S.C. § 3500, and Fed.
             R. Crim. P. 26.2. The defendant specifically requests pretrial
             production of these statements so that the court may avoid
             unnecessary recesses and delays for defense counsel to
             properly use any Jencks statements and prepare for cross-
             examination.
B. A copy of the Defendant’s prior criminal record, if any, as is
   within the possession, custody, or control of the Government, the
   existence of which is known, or by the exercise of due diligence may
   become known to the Government. See Fed. R. Crim. Proc. 16(a)(1)(B).
C. 404(b) Notice: Notice of evidence of any other crimes, wrongs, or acts
   which the government intends to introduce at trial pursuant to Rule
   404(b), Federal Rules of Evidence. This includes a request for all
   supporting records, reports, notes, and / or memoranda providing the
   details of any such evidence.
D. Books, papers, documents, photographs, tangible objects, or
   copies or portions thereof, which are within the possession, custody
   or control of the Government, and which are related to the above
   referenced case, or are intended for use by the Government as evidence
   at trial, or were obtained from or belong to the Defendant. See Fed. R.
   Crim. Proc. 16(a)(1)(C).
E. Any results or reports of physical or mental examinations, and
   of scientific tests or experiments, or copies thereof, which are
   within the possession, custody, or control of the Government, the
   existence of which is known, or by the exercise of due diligence may
      become known, to the Government, and which are related to the above
      referenced case or are intended for use by the Government as evidence
      at trial. See Fed. R. Crim. Proc. 16(a)(1)(D).5 You are also hereby
      specifically requested to preserve for testing by the Defendant any and
      all substances capable of being tested by scientific means whether or
      not such substances were tested by the Government.
   F. A complete written summary of testimony to be presented by any
      Government witness called as an expert witness including the witness’
      opinions, the basis and the reasons therefore, and his/her
      qualifications. See Fed. R. Crim. P. 16(a)(1)(E).
   G. All evidence favorable to the Defendant which is material
      either to the issue of guilt or punishment in the above
      referenced case or which serves to impeach a Government
      witness who will testify at trial. See generally Brady v. Maryland,
      373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150 (1972). This
      request includes, but is by no means limited to:
             1. Contradictory Statements: Prior contradictory
                statements of prosecution witnesses. Giles v. Maryland, 386
                U.S. 66 (1967).
             2. The existence of any witness known to the Government who
                is favorable to the defense together with any and all
                statements made or adopted by that witness (whether they
                be written, recorded or the substance of oral statements)
                within the custody or control of the Government, the


5 The government's obligation to provide Rule 16 discovery extends to all

materials of which the prosecutor knows and to which he or she has access.
See United States v. Bryan, 868 F.2d 1032, 1036 (9th Cir. 1989). The
prosecutor is deemed to have knowledge of and access to anything in the
possession, custody, or control of any federal or cooperating non-federal
agency participating in the same investigation of the defendant. Id. The
prosecutor has a duty to learn of any favorable evidence known to others
acting on the government’s behalf, including police, in order to avoid a Brady
violation. Kyles v. Whitley, 514 U.S. 419, 438 (1995).
   existence of which is known, or by the exercise of due
   diligence may become known to the Government.
3. Any statements made or adopted by any individual
   (including co—defendants) (whether they be written,
   recorded or the substance of oral statements) within the
   custody or control of the Government, the existence of which
   is known, or by the exercise of due diligence may become
   known to the Government, which exculpate or do not
   mention the Defendant.
4. Evidence of Bias or Motive to Lie: The defendant
   requests any evidence that any prospective government
   witness is biased or prejudiced against the defendant or has
   a motive to falsify or distort his or her testimony.
   Pennsylvania v. Ritchie, 480 U.S. 39 (1987); United States v.
   Strifler, 851 F.2d 1197 (9th Cir. 1988).
5. Evidence Affecting Perception, Recollection, Ability to
   Communicate, or Truth Telling: Any and all evidence
   showing any bias, narcotic habit, alcoholism, psychiatric
   treatment, lack of competence, lack of impartiality, or
   criminal record, on the part of any witness the Government
   intends to call to testify at trial in the above referenced case.
   United States v. Strifler, 851 F.2d 1197 (9th Cir. 1988);
   Chavis v. North Carolina, 637 F.2d 213, 224 (4th Cir. 1980).
6. Government Examination of Law Enforcement
   Personnel Files: The defendant requests that the
   government examine the personnel files and any other files
   within its custody, care, or control, or which could be
   obtained by the government, for all testifying witnesses. The
   defendant requests that these files be reviewed by the
   government attorney for evidence of perjurious conduct or
   other like dishonesty, or any other material relevant to
   impeachment, or any information that is exculpatory,
   pursuant to its duty under United States v. Henthorn, 931 F.
   2d 29 (9th Cir. 1991). See United States v. Jennings, 960 F.2d
   1488, 1492 (9th Cir. 1992).
7. Polygraph: The results of any polygraph (“lie detector”)
   tests given to a Defendant or witnesses the Government
   intends to call to testify at trial in the above referenced case.
8. Any promises, rewards, and inducements (financial or
   otherwise) offered (including a list of payments) or any
   threats of criminal prosecution made to any witness the
   Government intends to call to testify at trial in the above
   referenced case.
9. Presentence investigation reports (PSRs), if any,
   relating to any witness the Government intends to call to
   testify at trial in the above—referenced case.
10. Any and all evidence about which the Government is now
   aware, or about which the Government may become aware by
   the exercise of due diligence that might indicate, however
   remotely, that another individual committed the offense(s)
   for which the Defendant now stands accused. This includes
   all evidence which the Government believes indicates that
   another individual committed the offense(s) in connection
   with the Defendant.
11. Names and addresses of eyewitnesses to the offense(s) for
   which the Defendant now stands accused whose identity is
   now known, or by the exercise of due diligence may become
   known to the Government.
12. Information regarding any indecisive, incomplete or hesitant
   identification of the Defendant by any witness to the
   offense(s) for which the Defendant now stands accused
             (regardless of whether the Government intends to call that
             witness to testify at trial).
         13. Any and all information that tends to detract from the
             credibility or probative value of the testimony and/or
             evidence that the Government anticipates it will present at
             trial or sentencing in the above referenced case.
         14. Any and all differences between information provided to the
             government by a cooperating witness and information
             provided to the government in a proffer made by that
             witness’s attorney. See Spicer v. Roxbury Correctional
             Institute, No. 99-6119 (4th Cir. 1999).
         15. Evidence of Criminal Investigation of Any
             Government Witness: The defendant requests any
             evidence that any prospective witness is under investigation
             by federal, state or local authorities for any criminal conduct.
             United States v. Chitty, 760 F.2d 425 (2d Cir.), cert. denied,
             474 U.S. 945 (1985). This includes their entire criminal
             record (both arrests and convictions, whether adult or
             juvenile) and probation reports, supervised release, pre-
             sentence reports, violation reports, intelligence reports and
             all supplementals.
H. Copies of any statements made or adopted by any alleged co—
   conspirator, co-defendant or agent of the Defendant regardless of
   whether the Government intends to introduce these statements at
   trial. See United States v. Turoff, 701 F. Supp. 981 (E.D.N.Y. 1988).
I. Informants and Sources: The identify of any informant or “source”
   connected to the above referenced case who was a percipient witness to
   or participated in the alleged defense. See Roviaro v. United States,
   353 U.S. 53 (1957). The Defendant also requests information
   regarding the present address of said informant; any prior criminal
   record of said informant; any bias, narcotic habit, psychiatric
   treatment, lack of competence, lack of credibility, lack of impartiality,
   or criminal record on the part of said informant; and any promises,
   rewards and inducements (financial or otherwise) offered, or any
   threats of criminal prosecution made to said informant.
J. Any statements made or adopted by witnesses which the Government
   intends to call to testify at any hearing (including a sentencing
   hearing) connected with the above referenced case, or notes made by
   said witnesses within the possession, custody, or control of the
   Government, the existence of which is known, or by the exercise of due
   diligence may become known to the Government. See 18 U.S.C. § 3500;
   Fed. R. Crim. Proc. 26.2. This includes any statements made by a
   government witness while he or she was incarcerated in the course of
   telephone conversations with government agents or others that were
   audio/tape recorded by the institution in which the witness was
   incarcerated. See United States v. Ramirez, 174 F.3d 584 (5th Cir.
   1999).
K. Trial Evidence: The general nature of any and all evidence the
   Government intends to introduce at trial pursuant to Fed. R. Evid.
   404(b). See Fed. R. Evid. 404(b). The Defendant further requests a
   statement of the Government’s theory of admissibility with respect to
   all such evidence.
L. Sentencing Disclosures: The government’s discovery obligation
   extends to evidence that is relevant or material to sentencing under
   the Sentencing Guidelines. See United States v. Rosa, 891 F.2d 1075
   (3d Cir. 1989); United States v. Ameperosa, 728 F.Supp. 1479 (D.Haw.
   1990). Additionally, Federal Rule Crim. Pro. 16 and the good faith duty
   to contractually negotiate in a fair, informed, and intelligent manner
   (should we wish to resolve this case short of trial) mandate disclosure.
   Brady v. Maryland, 373 U.S. 82 (1963); McCarthy v. United States, 394
   U.S. 459 (1969), and Boykin v. Alabama, 395 U.S. 238 (1969). The
      Sentencing Commission's policy calls for the government to disclose
      such information. See U.S.S.G. § 6B1.2, Commentary.
Please note that the Defendant specifically requests all items he is entitled to
review as provided by the United States Constitution, the laws of the United
States, the Federal Rules of Criminal Procedure, the Federal Rules of
Evidence, the United States Sentencing Guidelines and/or existing case law.
If those sources require production of items not specifically requested herein,
a request for these items is now specifically made. Furthermore, this request
is a continuing request; if the Government discovers additional evidence or
material responsive to any of the above Requests subsequent to the
Government’s initial production, the Government shall promptly and without
delay provide the Defendant with the additional evidence or material. See
Fed. R. Crim. Proc. 16(c).
In the event that the Government fails to produce all, or any part, of the
evidence or materials herein requested, the Defendant reserves the right to
oppose the introduction of such evidence or materials at any hearing in the
above referenced case and/or move for dismissal of the indictment against the
Defendant. See Fed. R. Crim. Proc. 16(d)(2).


If you do not believe that we are entitled to receive any of the specific items
set forth in this letter, I would appreciate your nonetheless preserving and
assembling the evidence and notifying me of the non-production and reason
therefore, so that a motion can be raised to the Court, if necessary.
Your anticipated cooperation is appreciated.


GIFFORD LAW, P.L.L.C.

/S/Bobby Don Gifford

ROBERT D. GIFFORD, II
Attorney and Founder
